            Case 1:19-cv-02184-TJK Document 17 Filed 09/12/19 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                     CASE NO.: 19-cv-2184 (TJK)

                       Plaintiff,
v.

FACEBOOK, INC.,

                  Defendant.
_____________________________/


                UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF OF
                THE CENTER FOR THE LEGALIZATION OF PRIVACY
              AS AMICUS CURIAE IN OPPOSITION TO CONSENT MOTION

       Proposed amicus curiae, the Center for the Legalization of Privacy (“the Center”),

through undersigned counsel, respectfully moves this Court under LCvR 7(o) for leave to file a

brief in opposition to the consent motion to approve consent judgment by the United States of

America. See Dkt. 2, 4. In support of this motion, the Center states as follows:

       1.      The Center is a public interest legal organization dedicated to education about and

promotion of the proper legal protection for privacy, based on common-law rights to property

and contract. A primary focus of the Center is the problem of the “third-party doctrine,” which is

implicated by the proposed settlement in a manner that threatens the privacy of Facebook users

vis-à-vis the government.

       2.      The Center’s brief would be in support of neither party.

       3.      An amicus brief from the Center is desirable in this case because the Center is

unique in challenging the validity of the third-party doctrine with respect to sharing of

information, for a limited purpose, pursuant to a contract that is legally enforceable at common
            Case 1:19-cv-02184-TJK Document 17 Filed 09/12/19 Page 2 of 4




law. Facebook’s Terms of Service, as agreed to by users, are such contracts, and the Center notes

that the third-party doctrine is assumed, per the terms of the proposed settlement, to be both valid

and applicable to Facebook user data. It contends that these assumptions are unwarranted,

particularly in light of the Supreme Court’s recent ruling in Carpenter v. United States. 138 S.Ct.

2206 (2018).

       4.      The Center’s position is not adequately represented by either party in this matter,

as both parties have agreed to the proposed settlement, which is premised on the aforementioned

unwarranted assumptions about the validity and scope of the third-party doctrine.

       5.      The Center’s assertions are relevant to the disposition of this case because they

must be considered to adequately evaluate whether the proposed settlement can achieve its

assumed aim of improving and safeguarding Facebook user privacy. The Center contends that it

is not clear that the best remedy for Facebook’s alleged improper use of user data is to grant two

government agencies warrantless access to that data during the extended time period

contemplated in the proposed settlement.

       6.      Counsel for the Center has conferred with counsel for both parties for their

positions as to the filing of such a brief. The United States takes no position. Facebook takes no

position.

       For the aforementioned reasons, the Center respectfully requests that the Court enter the

attached Proposed Order granting leave to file an amicus curiae brief.

               [REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK]




                                                 2
         Case 1:19-cv-02184-TJK Document 17 Filed 09/12/19 Page 3 of 4




                                    Respectfully submitted,

                                    The Center for the Legalization of Privacy

                                    by counsel,

/s/ Stephen R. Klein
Stephen R. Klein (Bar No. 177056)      Amy Lynn Peikoff*
STATECRAFT PLLC                        THE CENTER FOR LEGALIZATION OF PRIVACY
1629 K Street NW, Suite 300            3024 E. Chapman Ave. #129
Washington, DC 20006                   Orange, CA 92869
Telephone: (202) 804-6676              Telephone: (714) 409-8275
steve@statecraftlaw.com                legalizeprivacy@icloud.com

                                       *Pro hac vice motion pending




                                       3
          Case 1:19-cv-02184-TJK Document 17 Filed 09/12/19 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I CERTIFY that on September 12, 2019, I served the foregoing and attachments through

the Court’s electronic filing system which served a copy on all counsel of record.



                                                     /s/ Stephen Klein
                                                     Stephen R. Klein




                                                4
